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     The People of the State of Colorado, Petitioner  v.  David Keith McCoy, Respondent No. 24SC588Supreme Court of Colorado, En BancApril 28, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1905
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      JUSTICE SAMOUR would grant as to the following issue:
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      a defendant's allegation in a pro se Crim. P. 35(c)
      motion that counsel did not have an active law license while
      representing the defendant, without more, is sufficient to
      warrant appointment of counsel and an evidentiary hearing.
    